Case 24-10126-amc         Doc 18   Filed 03/14/24 Entered 03/14/24 12:20:42    Desc Main
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                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:PATRICIA HALSEY                                     :    CHAPTER 13
                                     Debtor               :
                                                               BANKRUPTCY NO. 24-10126



                                          ORDER


       AND NOW, this        14th              day of   March          ,2024, upon

consideration of Debtor PATRICIA HALSEY’S Motion to Dismiss, it is hereby ORDERED

that said Motion be GRANTED and that the above referenced Chapter 13 be

voluntarily dismissed .



                                              ____________________________________
                                                                              J.
